 Case 1:17-cr-10004-STA         Document 467 Filed 12/13/17           Page 1 of 1      PageID
                                          1572


                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

vs.                                                        CASE NO.:      17-10004-14-STA

BOBBY McELRATH,

       Defendant.

______________________________________________________________________________

 ORDER GRANTING MOTION TO SCHEDULE A STATUS CONFERENCE AND NOTICE
                                 OF SETTING
______________________________________________________________________________

       This matter came to be heard upon the Motion on behalf of the Defendant, BOBBY

McELRATH to Schedule a Status Conference. The Court finds that this motion is well taken and

should be granted, and the Status Conference shall be set on the 2nd day of January, 2018 at 9:15

a.m.


       IT IS SO ORDERED, this 13th day of December, 2017.




                                                    s/S. Thomas Anderson
                                                    Chief United States District Court Judge
